                         UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DIVISION

                               NO. 7:13-CR-40-D


UNITED STATES OF AMERICA           :
                                   :    NOTICE OF INTENT TO SEEK
             v.                    :    ENHANCED PENALTY PURSUANT
                                   :    TO TITLE 21, UNITED STATES
MONTERIE LAVERN JUNIOUS            :    CODE, SECTION 851



     The United States of America, by and through the United States

Attorney for the Eastern District of North Carolina, hereby files this

Notice of Intent, Pursuant to Title 21, United States Code, Section 851,

to Seek an Enhanced Penalty as required before trial or entry of a plea

of guilty.    This notice advises the Court and MONTERIE LAVERN JUNIOUS,

the defendant herein, that the defendant faces enhanced punishment

under Title 21, United States Code, Section 841(b), since he was

previously convicted in United States District Court of a felony drug

offenses.

     On or about March 20, 2000 in Wilmington North Carolina (Federal

Court), the defendant, MONTERIE LAVERN JUNIOUS, was convicted of a

felony drug offense that being possess with intent to distribute



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cocaine base (crack)(7:99-CR-77-F)(Attachment A).

     Respectfully submitted, this the 19th day of June, 2013.



                                    THOMAS G. WALKER
                                    United States Attorney

                              By:   /s/ TIMOTHY SEVERO
                                    TIMOTHY SEVERO
                                    Special Assistant
                                    United States Attorney
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                                    NC State Bar No. 19621
                        CERTIFICATE OF SERVICE

     This is to certify that I have this the 19th day of June, 2013,

served a copy of the foregoing Government's Notice upon the counsel for

the defendant in this action by electronically filing the foregoing with

the Clerk of court, using the CM/ECF system which will send notification

of such filing to:

Geoffrey W. Hosford
Hosford & Hosford, P.C.
P. O. Box 1653
Wilmington, NC 28402

                                By:   /s/ TIMOTHY SEVERO
                                      TIMOTHY SEVERO
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                                      United States Attorney
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